                                                                 (SPACE BELOW FOR FILING STAMP ONLY)
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 1         MARK W. COLEMAN #117306
            NUTTALL & COLEMAN
 2           2445 CAPITOL STREET, SUITE 150
                   FRESNO, CA 93721
 3                PHONE (559) 233-2900
                   FAX (559) 485-3852
 4
 5     ATTORNEYS FOR Defendant
                     FELIPE GONZALEZ-MUNOZ
 6
 7
                                UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9
                                              * * * * * *
10
     UNITED STATES OF AMERICA,                      Case No.: CR-F-97-5114 OWW
11
                  Plaintiff,
12                                                          STIPULATION & ORDER
           vs.
13
                                                    DATE: February 7, 2006
14   FELIPE GONZALES-MUNOZ,                         TIME: 1:30 p.m.
                                                    DEPT: Hon. ANTHONY ISHII
15                Defendant.
16
17         IT IS HEREBY STIPULATED by and between attorneys for the
18   respective clients that the Continued Evidentiary hearing currently
19   scheduled for February 7, 2006, at 1:30 p.m., be continued to
20   February 22, 2006, at 1:30 p.m.
21         This    continuance           is   requested     by    counsel       for     Defendant
22   GONZALES, due to the fact that said counsel is unavailable on the
23   date previously chosen.              Counsel agreed to the February 7, 2006,
24   hearing date in court.               Unfortunately, counsel did not have his
25   calendar in court when he agreed to the date.                     Counsel is scheduled
26   to be in San Diego, California, for a Deposition on said date.
27   ///
28   ///
      Case 1:97-cr-05114-AWI Document 220 Filed 02/01/06 Page 2 of 2


 1        Counsel    for   Defendant    has    e-mailed   the   Assistant   U.S.
 2   Attorney, Karen Escobar, who has no objection to this continuance.
 3        DATED: January 26, 2006.
 4                                             NUTTALL & COLEMAN
 5                                             /S/ MARK W. COLEMAN
 6                                       By: ____________________________
                                              MARK W. COLEMAN
 7                                            Attorneys for Defendant
 8
          DATED: January 26, 2006.
 9
                                               /S/ KAREN ESCOBAR
10
                                         By: _____________________________
11                                            KAREN ESCOBAR
                                              Assistant U.S. Attorney
12
13
14                                     O R D E R
15        IT IS SO ORDERED.
16
          DATED: __Jan. 27_, 2006.
17
18                                       /s/ OLIVER W. WANGER
                                         _____________________________
19                                       OLIVER W. WANGER
                                         Judge, U. S. District Court
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